     Case 1:24-cv-03220-DLF        Document 47   Filed 04/18/25   Page 1 of 19




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY,

       Plaintiff,

       v.
                                                 Civil Action No. 24-3220 (DLF)
ROBERT F. KENNEDY, JR., Secretary of
Health and Human Services et al., et al.,

               Defendants.


BRISTOL MYERS SQUIBB COMPANY,

               Plaintiff,

       v.
                                                 Civil Action No. 24-3337 (DLF)
ROBERT F. KENNEDY, JR, Secretary of
Health and Human Services et al.,

               Defendants.


NOVARTIS PHARMACUTICALS CORP,

              Plaintiff,

       v.                                        Civil Action No. 25-0117 (DLF)
ROBERT F. KENNEDY, JR, Secretary of
Health and Human Services et al.,

              Defendants.


                 DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                THEIR CROSS MOTION FOR SUMMARY JUDGMENT
          Case 1:24-cv-03220-DLF                        Document 47                 Filed 04/18/25               Page 2 of 19




                                                   TABLE OF CONTENTS

Table of Contents ........................................................................................................................ i

Argument ....................................................................................................................................1

          I.         Plaintiffs Misconstrue the 340B Statute. ...............................................................1

          II.        The Agency’s Decision to Decline to Approve Rebate Models “At this Time”
                     Was Not Arbitrary and Capricious. ......................................................................4

                     A.         The Agency’s Position is Consistent with the Statute and Past Practices. ..4

                     B.         Plaintiffs Have Alternative Methods to Prevent Diversion and Duplication
                                .................................................................................................................7

                     C.         Plaintiffs Did Not Allow the Agency Sufficient Time to Consider the
                                Effects of a Major Disruption to the 340B Program. .................................9

          III.       Bristol Myers and Novartis’s Due Process Claims Lack Merit. ........................... 11

                     A.         Plaintiffs’ Have Not Identified a Constitutionally Protected Property
                                Interest in Implementing Their Preferred Price Reduction Mechanism. ... 12

                     B.         Novartis Had an Opportunity to Be Heard But Chose Not to Pursue It. ... 15

Conclusion ................................................................................................................................ 17
       Case 1:24-cv-03220-DLF          Document 47        Filed 04/18/25        Page 3 of 19




       Defendants, the Secretary of Health and Human Services and the Administrator of the

Health Resources and Services Administration respectfully submit this reply in further support of

their motion for summary judgment.

                                        INTRODUCTION

       In their reply and cross opposition, Plaintiffs Eli Lilly and Company (“Lilly”), Bristol

Myers Squibb Company (“Bristol Myers”), and Novartis Pharmaceuticals Corporation

(“Novartis”) fail to advance arguments that would warrant denying Defendants’ motion for

summary judgment. The 340B Statute vests the Secretary of Health and Human Services, through

the Health Resources and Services Administration (“the Agency”) with discretion to provide for

340B price reductions through discounts or rebates. Thus, the Agency’s position is in accordance

with the law. Plaintiffs propose requiring covered entities to receive their 340B price reductions

through rebates rather than the predominate direct discount system. Because of this change would

disrupt the way that the 340B program has operated for more than thirty years the Agency’s

decision to neither “approve nor disapprove” the rebate models is not arbitrary and capricious.

Finally, because Bristol Meyers and Novartis have not been deprived of a Constitutionally

protected interest, their substantive and procedural due process claims fail.

                                          ARGUMENT

I.     Plaintiffs Misconstrue the 340B Statute.

       The ceiling price that a manufacturer must offer to a covered entity “takes into account any

rebate or discount, as provided by the Secretary.” 42 U.S.C. § 256b(a)(1). Plaintiffs asked the

Court to rewrite the text of the statute in a way that would remove the Secretary from the process.

See generally Lilly Mot, Bristol Mot. Novartis Mot. But in their opposition and reply, Plaintiffs

backpedal. Plaintiffs now concede that the Secretary can “provide[ ]’ for a rebate or discount

model” but argue Secretary must specify the price reduction mechanism in the Pharmaceutical
       Case 1:24-cv-03220-DLF          Document 47        Filed 04/18/25      Page 4 of 19




Pricing Agreement. Opp’n at 12. But as the Agency explained, the pricing agreement is not a

contract or a regulatory vehicle, rather, the pricing agreements “are uniform agreements that recite

the responsibilities § 340B imposes, respectively, on drug manufacturers and the Secretary of

[Health and Human Services].” Astra USA, Inc. v. Santa Clara County, 563 U.S. 110, 113 (2011).

Plaintiffs attempt to disregard this precedent by arguing that the issue in Astra USA 563 U.S., at

113 was “whether 340B entities, though accorded no right to sue for overcharges under the statute

itself, may nonetheless sue allegedly overcharging manufacturers as third-party beneficiaries of

the [pricing agreement]to which the manufacturers subscribed.” Opp’n at 13. But Astra USA, 563

U.S., at 114, held that the answer was no because “[i]f 340B entities may not sue under the statute,

it would make scant sense to allow them to sue on a form contract implementing the statute, setting

out terms identical to those contained in the statute.” The pricing agreement and the statute are

“one and the same.” Id. Consistent with the Supreme Court’s holding that the pricing agreement

and the statute are “one and the same,” the Agency could not amend pricing agreements for

different manufacturer or covered entity types.

       Accepting Plaintiffs’ argument that the Secretary should create an individualized pricing

agreement with each manufacturer specifying whether that manufacturer should offer rebates or

discounts would not only contradict binding Supreme Court precedent would but would also

contradict long-standing Agency practice. Each manufacturer that elects to participate in the 340B

Program signs the same pricing agreement with the Secretary. AR 036-47. Indeed, when the

Agency debuted the program on December 15, 1992, the Agency sent manufacturers copies of the

agreement via certified mail and requested that manufacturers who wished to opt-in to the program

sign and return the agreements to the Agency by January 6, 1993. 58 Fed. Reg. 27,289, 27,291

(May 7. 1993). Even though the pricing agreements were designed to be and have always been




                                                  -2-
          Case 1:24-cv-03220-DLF         Document 47       Filed 04/18/25     Page 5 of 19




form agreements, in creating the program, Congress anticipated that the Secretary would use

whichever price reduction “mechanism that is the most effective and most efficient from the

standpoint of each type of ‘covered entity.” H.R. Rep. No. 102-384, pt. 2, at 16 (1992).

          Plaintiffs note that the Agency never preapproved the rebate models that have been used

for 340B sales to AIDS Drug Assistance Programs. Pl. Mot at 14-15. But this assertion is only

part of the story of how the Agency came to “recognize” a rebate option for AIDS Drug Assistance

Programs. 63 Fed. Reg. 35,239 (Jun. 29, 1998). In recognizing the rebate system, the Agency

stated,

          [a]lthough the discount system is functioning successfully for most covered
          entities, most [AIDS Drug Assistance Programs] have drug purchasing systems
          that have prevented their participation in the section 340B discount program. The
          use of a rebate option (in addition to the discount mechanism) should allow these
          groups to access section 340B pricing.

62 Fed. Reg. 45,823, 45,824 (Aug. 29, 1997).

          In other words, the purchasing system that a type of covered entity, specifically the AIDS

Drug Assistance Programs, used was preventing that type of covered entity from accessing the

Program, and the Agency allowed rebates as a solution to this obstacle. In issuing this guidance,

the Agency did not deny that it has the authority to block the rebate system or take enforcement

action if the Agency was not convinced that the rebates would further the objectives of the 340B

program. Id. Quite the opposite. In issuing this guidance the Agency reiterated that the Secretary

would use the price reduction mechanism “that is the most effective and most efficient.” Id.

(quoting H.R. Rep. No. 102-384, pt. 2, at 16). Thus, the Agency’s position that a manufacturer

cannot unilaterally choose whether to offer 340B-priced drugs to covered entities through

discounts or rebates without Secretarial input is not a “novel reading” of the 340B Statute. “The

longstanding practice of the government—like any other interpretive aid—can inform [a court’s]




                                                 -3-
       Case 1:24-cv-03220-DLF           Document 47       Filed 04/18/25      Page 6 of 19




determination of what the law is.” Loper Bright Enterprises v. Raimondo, 603 U.S. 369, 386

(2024). Here, the Agency’s longstanding practice has been to guard its prerogative to determine

the most apt price reduction mechanism for a given type of covered entity. 62 Fed. Reg. at 45,824.

       Accordingly, the Agency’s decision to prevent Plaintiffs from unilaterally implementing

rebate models was within the Agency’s statutory authority.

II.    The Agency’s Decision to Decline to Approve Rebate Models “At this Time” Was Not
       Arbitrary and Capricious.

       Even though the Agency does not need to create individualized pricing agreements with

each manufacturer, Plaintiffs could still engage with the Agency to obtain approval for a price

reduction mechanism that balances all stakeholders’ concerns. AR 292, 347, 439. Many of

Plaintiffs’ arguments that the Agency’s decision was arbitrary and capricious rely on the premise

that the Agency foreclosed them from implementing rebate models under any circumstances. See

generally, Opp’n at 17-18. But this is not the Agency’s position. As the Agency explained to each

Plaintiff, the Agency could not “approve or disapprove” the rebate models “to date.” AR 292,

347, 439. As Plaintiffs concede, the 340B program has been operating without the types of rebate

models that Plaintiffs propose for more than thirty years and no manufacturer approached the

Agency about large-scale adaptation of rebate models until July 2024. Opp’n at 21 n.3. But rather

than collaborate with the Agency, Plaintiffs filed suit asking the Court to adopt a novel theory that

the 340B Statute allows them to choose a price reduction mechanism regardless of what has been

“provided by the Secretary.” 42 U.S.C. § 256b(a)(1). See Lilly Compl. Bristol Meyers Compl. ¶

96; Novartis Compl. ¶ 124.

       A.      The Agency’s Position is Consistent with the Statute and Past Practices.

       Plaintiffs double down on their argument that the Agency’s decision is arbitrary and

capricious because the Agency did not treat its proposal like the AIDS Drug Assistance Program



                                                -4-
       Case 1:24-cv-03220-DLF          Document 47       Filed 04/18/25      Page 7 of 19




rebates. Opp’n at 16-17. But Plaintiffs have no substantive answer for the distinctions between

the rebate models used for the AIDS Drug Assistance Programs and the rebate models that they

intend to implement, namely that the rebate models were permitted because the purchasing systems

that many AIDS Drug Assistance Programs used made it difficult to access the 340B Program

under a direct discount system. 62 Fed. Reg. at 45,824. Here, there is no evidence that the current

340B price reduction systems are preventing covered entities from accessing the program. “An

agency must treat similar cases in a similar manner unless it can provide a legitimate reason for

failing to do so.” Kreis v. Sec’y of Air Force, 406 F.3d 684, 687 (D.C. Cir. 2005).      Here, the

Agency has provided a reason for treating the rebate models that Plaintiffs seek to implement

differently from those used to effectuate price reductions for AIDS Drug Assistance Programs and

thus Plaintiffs cannot rely on the Agency’s treatment rebate models for AIDS Drug Assistance

Programs as a basis to claim that the Agency’s decision was arbitrary and capricious. Conta,

Opp’n at 16-17

       Plaintiffs also ignore the distinctions between the rebate models and the product

replenishment models. Opp’n at 19. Asking a covered entity to make one initial purchase at the

wholesale cost and then make subsequent purchases at a discount is different than what Plaintiffs

are asking of covered entities, namely, to make every purchase at the wholesale cost. AR 203. In

its correspondence with Johnson & Johnson, another pharmaceutical manufacturer seeking to

implement a rebate model, the Agency explained the differences between the replenishment model

and the rebate models. AR 203. But the Court need not even accept the Agency’s representations

because Johnson & Johnson conceded that under the replenishment model, the covered entities

make all but the first purchase at the 340B discounted price. AR 060-61. Additionally, the Agency

does not “insist” on the product replenishment model, Contra Opp’n at 22, but unlike the rebate




                                               -5-
       Case 1:24-cv-03220-DLF           Document 47          Filed 04/18/25     Page 8 of 19




models, the covered entities have voluntarily chosen to use the product replenishment process. AR

203. Plaintiffs notably do not claim that the covered entities forced them to participate in the

product replenishment system against Plaintiffs’ will, but Plaintiffs seek to force the covered

entities to acquiesce to Plaintiffs’ preferred system. Id.

        The rebate models impose added financial burdens on the covered entities. Plaintiffs ask

the covered entities to pay higher upfront costs which “reduces the hospitals’ resources available

for other patient care,” and some covered entities may not have funds available to pay the higher

upfront costs. AR 568. Plaintiffs claim that disproportionate share hospitals are “some of the

largest, most sophisticated, and most profitable hospitals in the country,” Opp’n at 18, but in

reality, these hospitals provide sixty percent of uncompensated care.            AR 568.     And the

disproportionate share hospitals that are eligible to participate in the 340B program are not for-

profit businesses. To participate in the 340B Program as a covered entity, a disproportionate share

hospital must be a state or local government entity or a non-profit corporation. 42 USC

256b(a)(4)(L). “For-profit hospitals aren’t eligible to participate in the 340B Program.” HRSA,

Disproportionate         Share          Hospitals,           https://www.hrsa.gov/opa/eligibility-and-

registration/hospitals/disproportionate-share-hospitals, (last visited Apr. 3, 2025).

       Plaintiffs argue that Congress did not intend for the Agency consider covered entities

preferences in deciding the appropriate price reduction mechanism. Opp’n at 22-23. But Plaintiffs

cite no authority for this argument and indeed, none exists, which makes sense because the covered

entities are the beneficiaries of the 340B program. 42 U.S.C. § 256b(a)(1) (the pricing agreement

“shall require that the manufacturer offer each covered entity covered outpatient drugs for purchase

at or below the applicable ceiling price . . .”). The purpose of the 340B Program was to help

covered entities “stretch scarce federal resources as far as possible, reaching more eligible patients




                                                -6-
       Case 1:24-cv-03220-DLF           Document 47         Filed 04/18/25      Page 9 of 19




and providing more comprehensive services.” H.R. Rep. No. 102-384, pt. 2, at 12. If the Agency

were to allow manufacturers to implement a price reduction mechanism that made it more difficult

for the covered entities to stretch their resources, then the Agency would undermine a purpose of

the Program. The Agency oversees the transactions between the manufacturers and the covered

entities, and thus the Agency could not confine its consideration of proposed changes to the

methods of effectuating price reductions to how the changes will affect the manufacturers. See

generally, 42 U.S.C. § 256b(a)(1).

       B.      Plaintiffs Have Alternative Methods to Prevent Diversion and Duplication

       Plaintiffs minimize the availability of audits and the alternative dispute resolution process

as tools to address their concerns regarding duplication and diversion. Opp’n at 23. However, it

is not difficult for a manufacturer to establish the reasonable cause for duplication or diversion that

will unlock the audit process. “Reasonable cause means that a reasonable person could believe

that a covered entity” is violating the 340B statute through duplication or diversion. 61 Fed. Reg.

65,406, 65,409 (Dec. 12, 1996). A manufacturer can demonstrate reasonable cause with evidence

such as “significant changes in quantities of specific drugs ordered by a covered entity and

complaints from patients/other manufacturers about activities of a covered entity.” Id. at 65,406.

Additionally, the Agency does not need to “approve” the audit workplan for a manufacturer to

conduct an audit. Id. The Agency simply reviews the plan to ensure that audit work performed is

“relevant to the audit objectives while protecting patient confidentiality and information of the

covered entity which is considered proprietary.” Id. If, based on the manufacturers’ submission,

the Agency finds reasonable cause to believe that a violation is occurring, the Agency “will not in

intervene” with the Audit. Id. at 65,410. Plaintiffs argue that covered entities have resisted

cooperating with the audits, but the Agency has advised these covered entities to cooperate with

the audits and has defended this position in lawsuits from various covered entities challenging the


                                                 -7-
      Case 1:24-cv-03220-DLF          Document 47        Filed 04/18/25      Page 10 of 19




audits. See e.g., University of Wash. Med. Ctr. v. Kennedy, Civ. A. No. 24-2998 (RC) (D.D.C.);

Oregon Health & Sci. Univ. v. Engels, Civ. A. No. 24-2184 (RC) (D.D.C.); Children’s Nat’l Med.

Ctr. v. Engels, Civ. A. No. 24-2563 (RC) (D.D.C.).

       Further, Bristol Myers and Novartis’s claims that rebates are the only way for them to guard

against covered entities obtaining duplicative discounts through both the 340B Program and the

Medicare Drug Price Negotiation Program (“the Negotiation Program”) are inaccurate. Plaintiffs

can collect data that they need on the 340B status of prescriptions through other means. As

Intervenor 340B Health notes, many manufacturers already “require 340B Hospitals to collect and

report data to a vendor employed by the relevant manufacturer.” 340B Health Br. at 23 (Civ. A.

No. 24-3337, ECF No. 39-1). For example, Oregon Medicaid maintains a database where covered

entities submit Medicaid rebate claims and identify dispensed 340B drug units. State and Regional

Hosp. Assn’ Br. at 30 (Civ. A. No. 24-3337, ECF No. 43). The rebate vendor uses this data to

remove 340B claims from the claims that are identified as Medicaid rebate eligible and subtracts

the 340B claims from the Medicaid rebate invoices that the State submits to the manufacturers.

Id. Plaintiffs make no arguments explaining why these existing data collection regimes are not

sufficient for them to track 340B prescriptions to track duplication and diversion. On the contrary,

Novartis maintains that it can impose data-reporting conditions on covered entities. Novartis Mot.

at 17 (ECF No. 12-1). If Novartis can impose data-reporting conditions on covered entities, then

Novartis’s argument that it cannot access claims data that would allow it to link a particular

prescription to both a 340B claim and a Negotiation Program claim without a rebate system

collapses.

       Various Intervenors and Amici propose other alternatives to the rebate model that would

address Plaintiffs’ concerns about duplication of 340B and Negotiation Program Discounts. For




                                               -8-
      Case 1:24-cv-03220-DLF          Document 47        Filed 04/18/25     Page 11 of 19




example, 340B Health has proposed that covered entities and manufacturers enter data sharing

arrangements for 340B drugs that are dispensed to Medicare beneficiaries to ensure that providers

will receive either the 340B discount or, if it is lower, the maximum fair price under the

Negotiation Program, but not both. 340B Health Br. at 44-45. This proposal from 340B Health,

which would not involve a rebate for 340B purchases, is consistent with guidance from the Centers

for Medicare & Medicaid Services (“CMS”) which encouraged manufacturers to use “data

available from covered entities and their 340B [third party administrators], and other prescription

drug supply chain stakeholders” to ensure that the covered entity received the lesser of the 340B

price or the Negotiation Program price. CMS, Medicare Drug Price Negotiation Program: Final

Guidance, at 232 (Oct. 2, 2024). As another solution, Amicus State and Regional Hospital

Associations have proposed a variation of the product replenishment model. State and Regional

Hosp. Assn’ Br. at 27-28. Under this proposal, Covered entities would only be able to purchase a

replenishment stock on a given drug through a 340B account or a Negotiation Program account

thus making it impossible for the covered entities to obtain a discount on the same unit of a given

drug through both programs. Id.

       Accordingly, because Plaintiffs have other means available to prevent duplication and

diversion, including any duplication and diversion that could occur between the 340B Program

and the Negotiation Program, Plaintiffs’ arguments that their rebate models are the only way for

them to prevent duplication and diversion lack merit.

       C.      Plaintiffs Did Not Allow the Agency Sufficient Time to Consider the Effects
               of a Major Disruption to the 340B Program.

       Plaintiffs disregard the significance of the Medicare Drug Price Negotiation Program being

administered by the CMS. Opp’n at 25-26. But the fact that Plaintiffs proposed rebate models

impinge on another Department component’s equities further militates in favor of finding that the



                                               -9-
      Case 1:24-cv-03220-DLF             Document 47     Filed 04/18/25     Page 12 of 19




Agency appropriately declined to allow Plaintiffs to proceed with the rebate models “at this time.”

AR 292, 347, 439. That said, CMS is aware of the intersection of the two programs and has agreed

to “coordinate with HRSA to provide and share information to support compliance with each

agency’s respective program requirements.” CMS, Negotiation Program Guidance, at 232. This

process is ongoing. Importantly, manufacturers do not need to begin offering the maximum fair

price on the first ten drugs subject to the Negotiation Program until January 1, 2026, giving CMS

and HRSA additional time to issue additional guidance if needed.            Medicare Drug Price

Negotiation Program: Selected Drugs for Initial Price Applicability Year 2027 (Jan. 2025),

https://www.cms.gov/files/document/factsheet-medicare-negotiation-selected-drug-list-ipay-

2027.pdf (last visited Apr. 15, 2025).

       Finally, Plaintiffs dismiss the Agency’s arguments that it has not had a sufficient

opportunity to conduct a thorough review of the rebate models to ensure that the models will not

undermine the 340B program or adversely affect covered entities or the patients that they serve.

Opp’n at 26. Drug manufacturers did not begin pitching widespread use of rebate models to the

Agency until June 2024. AR 049, 507. When these manufacturers did not obtain instant approval

from the agency, they bypassed the Agency and filed lawsuits beginning with Johnson & Johnson

on November 12, 2024. See Johnson & Johnson Health Care Systems Inc. v. Kennedy, Civ. A.

No. 24-3188 (RC) (D.D.C.). The Agency has notified manufacturers that if they proceed with

implementing the rebate models at this time, then the Agency would initiate enforcement action.

See e.g., AR 214.

       The Agency does not dispute that these letters are a final agency action reviewable under

the Administrative Procedures Act, 5 U.S.C. § 704, but the Agency did not issue the letters because

it had conducted a thorough review of the proposed rebate models, rather the Agency issued the




                                               - 10 -
       Case 1:24-cv-03220-DLF          Document 47        Filed 04/18/25      Page 13 of 19




letters because some of the manufacturers, including Bristol Myers and Novartis demanded that

the Agency “acknowledge in writing” by a date certain that manufacturers have the right to

implement the proposed rebate models. AR 317, 427. The Agency issued the letters prevent

Plaintiffs from unilaterally implementing the rebate models before the Agency could fully review

the proposals. AR 292, 347, 439. Even as it issued these letters, the Agency has not ruled out

providing for rebate models if given sufficient time to assess the rebate models. AR 347 (“to date,

the Secretary has neither approved or disapproved [the] rebate model”).

       Although many of the manufacturers now prefer rebate models, the covered entities prefer

upfront discounts. See AR 635-39. Because the Agency has not yet fully considered “all aspects

of the problem” Motor Vehicle Mfrs. Ass'n v. State Farm Mutual Automobile Ins. Co., 463 U.S.

29, 43 (1983), the Agency justifiably declined to approve the rebate models in order to preserve

the 340B program as it has operated since 1992.

III.   Bristol Myers and Novartis’s Due Process Claims Lack Merit.

       At bottom, Bristol Myers and Novartis claim that the Agency’s decision not to approve

their rebate models deprives them of a property interest in not having to give duplicative discounts.

Opp’n at 30. Constitutionally protected property interests “are created and their dimensions are

defined by existing rules or understandings that stem from an independent source such as state

law.” Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 577, (1972). Thus, to establish a

property interest, Bristol Myers and Novartis must identify a “source of law creating [an]

entitlement that qualifies as property under the Due Process Clause.” Roth v. King, 449 F.3d 1272,

1285 (D.C. Cir. 2006). Although Bristol Myers and Novartis may have a property interest in not

needing to acquiesce to diversion and duplication, they do not have a property interest in

implementing their preferred method to curb duplication and diversion and thus their substantive

and procedural due process claims fail.


                                               - 11 -
      Case 1:24-cv-03220-DLF          Document 47        Filed 04/18/25     Page 14 of 19




       A.      Plaintiffs’ Have Not Identified a Constitutionally Protected Property Interest
               in Implementing Their Preferred Price Reduction Mechanism.

       Bristol Myers and Novartis claim that duplication and other improper 340B claims are

erroneous deprivations of Bristol Myers and Novartis’s property and that the Agency’s position is

preventing manufacturers from curbing this abuse. Opp’n at 30. But by not allowing Plaintiffs to

unilaterally implement rebate models, the Agency is not depriving these two manufacturers of a

property interest. Duplication and diversion are unlawful under the 340B statute, 42 U.S.C. §

256b(a)(5)(A), and both the Agency and manufacturers can ensure that covered entities are not

engaging in duplication and diversion through audits. Id., § 256b(a)(5)(A). If the audits turn up

evidence that covered entities are engaging in duplication or diversion, then the Agency can take

enforcement action against a covered entity which can include compensating the manufacturer for

unlawfully obtained discounts, 42 U.S.C. § 256b(a)(5)(D), (d)(2)(B)(v)(I), or, in some

circumstances, a covered entity’s removal from the 340B Program. Id. § 256b(d)(2)(B)(v)(II).

       The Agency is not claiming that Bristol Myers and Novartis should accept duplication and

diversion as the cost of doing business, but the Agency also does not need to accept these two

manufacturers’ representations that the rebate models are the only way for Plaintiffs to prevent

duplication and diversion. AR 347, 439. Their due process arguments are based on the false

premise that they do not have alternatives to the rebate models. Opp’n at 37-38. As explained in

part II(b) above, Bristol Myers and Novartis could monitor sales for duplication or diversion using

other methods such as requiring covered entities to submit certain data with their claims or

replenishing 340B drugs separately from Negotiation Program drugs. As 340B Health proposed,

manufacturers can obtain the data that they need to monitor transactions for duplication and

diversion without implementing a rebate system. 340B Health Br. at 45-46.




                                              - 12 -
      Case 1:24-cv-03220-DLF           Document 47        Filed 04/18/25      Page 15 of 19




        Even if Bristol Myers and Novartis have a property interest in the drugs that they sell and

in not needing to give both 340B and other discounts on the same unit of drug, they do not have a

property interest in being able to prevent duplication and diversion through rebates especially since

there are other methods to, in their words, “stop the bleeding from unlawful price reductions.”

Opp’n at 33. To show a constitutionally protected interest Bristol Myers and Novartis must

identify “‘explicitly mandatory language,’ i.e., specific directives to the decisionmaker that if the

regulations’ substantive predicates are present, a particular outcome must follow.” Kentucky Dep’t

of Corrections v. Thompson, 490 U.S. 454, 462-63 (1989). In administering the 340B Program

the Secretary has discretion to provide for rebates or discounts, 42 U.S.C. § 256b(a)(5), and “when

a statute leaves a benefit to the discretion of a government official, no protected property interest

in that benefit can arise.” Bloch v. Powell, 348 F.3d 1060, 1069 (D.C. Cir. 2003).

       Moreover, as Defendants explained, Def. Mot. at 34, because “there is no constitutional

right (or requirement) to engage in business with the government, the consequences of that

participation cannot be considered a constitutional violation.”         Dayton Area Chamber of

Commerce v. Becerra, 696 F. Supp. 3d 440, 467 (S.D. Ohio 2024). Plaintiffs attempt to circumvent

this argument by describing the financial consequences that would come from withdrawing from

the 340B Program. Opp’n at 34. But these arguments contradict rulings from Courts around the

country rejecting due process challenges to the operation of various federal drug pricing programs

because, despite the significant financial incentives to participate, a manufacturer’s decision to

participate in programs such as the 340B Program, Medicare Part B, Medicate Part D, and

Medicaid is voluntary. See e.g. Minn. Ass’n of Health Care Facilities, Inc. v. Minn. Dep't of Public

Welfare, 742 F.2d 442 (8th Cir. 1984) (“Despite the financial inducement to participate in

Medicaid, a nursing home’s decision to do so is nonetheless voluntary”); Boehringer Ingelheim




                                               - 13 -
      Case 1:24-cv-03220-DLF          Document 47        Filed 04/18/25     Page 16 of 19




Pharms., Inc. v. Dep’t of Health and Human Serv., Civ. A. No. 23-1103, 2024 U.S. Dist. LEXIS

117413, *21 (D. Conn. Jul. 3, 2024) (“because BI can opt out of Medicare and Medicaid, it has

not been deprived of property for the purposes of its Due Process Clause and Takings Clause

claims”); Eli Lilly & Co. v. Dep’t of Health and Human Serv., Civ. A. No. 21-0081, 2021 U.S. Dist.

LEXIS 209257, at *67 (S.D. Ind. Oct. 29, 2021) (rejecting Fifth Amendment challenge to Agency

decision preventing manufacturers from restricting 340B shipments to certain pharmacies because

the manufacture has “voluntarily chosen to participate in the 340B program.”).            Thus, a

manufacturer does not have a constitutionally protected interest in the operation of the 340B

Program because manufacturer that is dissatisfied with the program has the option to withdraw.

       In a seeming attempt to persuade the Court to ignore these precedents, Bristol Myers and

Novartis analogize their case to Valancourt Books, LLC v. Garland, 82 F.4th 1222 (D.C. Cir. 2023).

See Opp’n at 34-35. Valancourt Books, 82 F.4th, at 1226, involved a due process challenge to a

statute requiring the owner of a copyrighted work to “deposit two copies of the work with the

Library of Congress within three months of its publication.” The D.C. Circuit found that this

statute was an unconstitutional taking in violation of the Fifth Amendment.           Id. at 1236.

Specifically, the Circuit did not accept the Government’s argument that the plaintiff was receiving

the benefit of copyright protection in exchange for making a mandatory deposit because

“[c]opyright ‘subsists’ as soon as one ‘fixe[s]’ a work ‘in any tangible medium.’” Id. at 1236

(quoting 17 U.S.C. § 407(a)). In other words, the plaintiff had copyright protection regardless of

whether it made the deposit. Valancourt Books, 82 F.4th, at 1236. Unlike in Valancourt Books,

the Agency is providing Bristol Myers and Novartis a benefit in exchange for their willingness to

provide 340B price concessions on terms provided by the Secretary: coverage of their products

under Medicaid and Medicare Part B. 42 U.S.C. §§ 256b(a), 1396r-8(a)(1).




                                              - 14 -
      Case 1:24-cv-03220-DLF            Document 47        Filed 04/18/25      Page 17 of 19




       In short, because Bristol Myers and Novartis can prevent diversion and duplication through

other means and Plaintiffs are not required to participate in the 340B Program, the Agency’s

decision to prevent them from implementing rebate models at this time does not deprive Plaintiffs

of a constitutionally protected property interest.

       B.      Novartis Had an Opportunity to Be Heard But Chose Not to Pursue It.

       In addition to identifying a constitutionally protected liberty or property interest a plaintiff

alleging a denial of procedural due process must identify what process was due but denied. Doe

by Fein v. District of Columbia, 93 F.3d 861, 869-70 (D.C. Cir. 1996). Only “after finding the

deprivation of a protected interest does the Court look to see if the government’s procedures

comport with due process.” Chamness v. McHugh, 814 F. Supp. 2d 7, 16 (D.D.C. 2011). Because

Novartis failed to identify a Constitutionally protected liberty or property interest, the Court need

not resolve whether the available process was sufficient. But even if Novartis had identified a

constitutionally protected liberty or property interest, its due process claim fails because it has not

explained what process it was due but denied. Opp’n at 39.

        Novartis claims it is seeking “a mechanism for informing [the Agency] that covered

entities have received 340B pricing they were not entitled to, and a robust way of holding such

entities accountable” and that the rebate model would accomplish that goal. Opp’n at 39. In

advancing this argument, Novartis collapses the elements of a due process claim arguing that

because the Agency prevented them from implementing what they perceived was the best solution

to guarding against duplication and diversion, the Agency deprived them of the opportunity to be

heard ‘at a meaningful time and in a meaningful manner.’” Kelley v. District of Columbia, 893

F. Supp. 2d 115, 123–24 (D.D.C. 2012) (citing Mathews, 424 U.S. at 333). The Agency agrees

that Plaintiffs do not need to acquiesce to duplication and diversion, but as already explained,




                                                - 15 -
      Case 1:24-cv-03220-DLF            Document 47         Filed 04/18/25    Page 18 of 19




Novartis can monitor transactions for duplication and diversion through methods other than a

rebate model.

       Novartis appears to argue that the rebate model is the process that they are entitled to before

they can be deprived of their constitutionally protected interest in not being subject to duplication

or diversion. Opp’n at 39. Importantly, “due process is flexible and calls for such procedural

protections as the particular situation demands.” Morrissey v. Brewer, 408 U.S. 471, 481 (1972).

Here, because Plaintiffs have alternative ways to monitor for duplication and diversion, the Court

need not find that the rebate model is necessary to afford Novartis the right to be heard. Lujan v.

G & G Fire Sprinklers, 532 U.S. 189, 197 (2001) (holding that a pre-deprivation hearing is not

necessary for a State to afford adequate due process to a contractor before the state withholds

payments because “the ordinary judicial process” for resolving contractual disputes is available as

an alternative.)

       The Agency was willing to collaborate with Novartis to develop a solution that would help

Novartis prevent duplication and diversion, but Novartis resorted to litigation the day after the

Agency informed them that they could not implement the rebate model “at this time.” AR 439.

Accordingly, Novartis’s procedural due process claim fails because they failed to identify a

process that they were due or denied.



                                           *     *      *




                                               - 16 -
      Case 1:24-cv-03220-DLF       Document 47         Filed 04/18/25   Page 19 of 19




                                     CONCLUSION

       For these reasons and the reasons stated in Defendants’ cross motion for summary

judgment, the Court should grant summary judgment in Defendants’ favor and deny Plaintiffs’

motions for summary judgment.

 Dated: April 18, 2025                      Respectfully submitted,

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                                           - 17 -
